Case 1:16-bk-11890         Doc 13     Filed 11/17/16 Entered 11/17/16 14:58:44                 Desc Main
                                     Document      Page 1 of 11

                                                                                R.I. Local Form 3015-1.1
                                                                                         (Rev. 5/10/2016)
                             UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF RHODE ISLAND

IN RE: Tina M. Gelinas                                            CHAPTER 13
       Irwin W. Gelinas                                           CASE NO.: 16-11890

        Debtor(s)

          CHAPTER 13 PLAN AND APPLICABLE MOTIONS DESIGNATED BELOW:

                                             ( ) MOTION TO AVOID LIEN(S)
                                             ( ) MOTION TO MODIFY SECURED CLAIM(S)
                                             ( ) MOTION TO ASSUME/REJECT LEASE(S)

         If you oppose any provision of this plan and/or any motions contained within, you MUST
FILE A TIMELY WRITTEN OBJECTION. This plan and any motions contained within may be
confirmed and become binding on you without further notice or hearing unless a written objection
is filed no later than seven (7) days before the hearing date on confirmation, which is scheduled for
January 11, 2017.

         Your objection to confirmation must include the specific reasons for your objection, and must be
filed with the Court no later than seven (7) days before the hearing date on confirmation. See R.I. LBR
3015-3(b)(1). If you mail your objection to confirmation to the Court for filing, you must mail it early
enough so that the Court will receive it on or before the deadline stated above. You must also serve a
copy of your objection to confirmation on the debtor(s), the attorney for the debtor(s), and the Chapter 13
trustee at their addresses as they are listed in the notice of the meeting of creditors.

        If you or your attorney does not take these steps, the Court may decide that you do not
oppose the proposed plan of the debtor(s), including any motions contained in the plan, and may
enter an order confirming the plan and granting the motions. Any creditor’s failure to timely object
to confirmation of the proposed plan or any of the above checked motions shall constitute the
creditor’s acceptance of the treatment of its claim as proposed, pursuant to 11 U.S.C. Section
1325(a)(5)(A).

                                          PLAN PROVISIONS

DISCHARGE: (Check one)

        ( x ) The debtor will seek a discharge of debts pursuant to Section 1328(a).

        ( ) The debtor is not eligible for a discharge of debts because the debtor has previously received
a discharge described in Section 1328(f).

NOTICE OF SPECIAL PROVISIONS: (Check if applicable)

(   ) This plan contains special provisions that are not included in the standard plan as approved by the
      U.S. Bankruptcy Court for the District of Rhode Island. Those provisions are set out in the OTHER
      PLAN PROVISIONS section of this plan.
Case 1:16-bk-11890          Doc 13     Filed 11/17/16 Entered 11/17/16 14:58:44                Desc Main
                                      Document      Page 2 of 11

                                          I. PLAN PAYMENTS

A. Payments by the debtor of $850.00 per month for 60 months. Pursuant to U.S.C. § 1326(a)(1), unless
the Court orders otherwise, the debtor shall commence making payments not later than 30 (thirty) days
after the date of the filing of the plan or the order for relief, whichever is earlier.

B. In addition to the above specified plan payments, other lump sum payments from any source (describe
specifically) shall be paid to the trustee as follows:
        ***Debtors shall turnover Federal tax refunds over $1,000.00.

C. For amended plans:

     (1) The plan payments by the debtor shall consist of the total amount previously paid ($_____) added
to the new monthly payment in the amount of $______ for the remaining __ months of the plan for a total
base amount, as amended, of $_____________, plus other payments and property stated in Paragraph B
above.

    (2) The payment amount shall change effective.

D. Payments to the trustee shall be sent to the following address:

            Office of the Standing Chapter 13 Trustee
            P.O. Box 2561
            Providence, Rhode Island 02906


                                     II. ADMINISTRATIVE COSTS

A. Attorney’s Fees. The attorney for the debtor(s) has received $1000.00 of the total initial attorney fee
of $4000.00. The remainder of the initial fee shall be paid through the plan. The attorney for the
debtor(s) requests additional payment in the amount of $0.00 for representing the debtor in the Court’s
loss mitigation program, or a loss mitigation program outside of the Court. This fee will be paid through
the plan.

Therefore, the total attorney fee to be received in this case will be $4,000.00.

B. Trustee’s Costs. The trustee shall be entitled to reimbursement of fees and costs up to the statutory
maximum on each disbursement made by the trustee, regardless of whether it is paid prior to or following
confirmation.


                                 III. FILING OF PROOFS OF CLAIM

A. The trustee shall only distribute payments, including adequate protection payments, to creditors who
have actually filed proofs of claim, or have had a proof of claim filed on their behalf, (including adequate
proof of security) with the Court that are deemed allowed pursuant to 11 U.S.C. Section 502(a).

B. The trustee shall mail payments and provide notices to the address provided on the filed proof of claim
or amended proof of claim or filed name or address change or assignment or transfer of claim filed with
the Court.




                                                      2
Case 1:16-bk-11890         Doc 13      Filed 11/17/16 Entered 11/17/16 14:58:44                 Desc Main
                                      Document      Page 3 of 11

                                        IV. SECURED CLAIMS

A. Mortgages and Other Direct Payments by Debtor. Payments will be made outside the plan
according to the original contract terms, with no modification of contract terms and with liens retained.

                                                           Contractual       Principal
                                                                                             Contract Rate
  Name of Creditor        Description of Collateral         Monthly         Balance of
                                                                                              of Interest
                                                            Payments          Claim
 Shellpoint Mortgage 38 Saint Leon Ave.                   $1530.24         $187,244.89                  2.7%
 Servicing           Woonsocket, RI 02895
                                                          $                $                               %

                                                          $                $                               %

                                                          $                $                               %



B. Prepetition Arrearages.

    (1) For purposes of this Plan, Prepetition Arrearages shall include all sums included in the allowed
claim and shall have a “0” balance upon entry of the Discharge Order in this case.

    (2) No interest will be paid on Prepetition Arrearages unless otherwise stated.

    (3) Payments made by the Trustee on Debtor’s Prepetition Arrearages shall be applied only to those
Prepetition Arrearages and not to any other amount owed by Debtor to the Secured Creditor.

    (4) Information Regarding the Arrearages:

                              Description of Collateral                                  Total to be paid in
   Secured Creditor                                            Arrearage Amount
                                Including Address                                               Plan
 Shellpoint    Mortgage 38 Saint Leon Ave.                    $40,000.00                $40,000.00
 Servicing              Woonsocket, RI 02895
                        $


     (5) If Debtor pays the amount(s) specified in section (4) (above), while making all required Post-
Petition Payments (see below), Debtor’s mortgage will be reinstated according to its original terms,
extinguishing any right of the Secured Creditor to recover any amount alleged to have arisen prior to the
filing of Debtor’s petition.

Check if applicable

                                 [ ] Motion to Modify Secured Claims

    The debtor(s) hereby moves the Court to value the collateral of each of the creditors described in
Section C below (except those creditors whose claims are classified to be paid directly or to be paid in full
by the Chapter 13 Trustee where Section 506(a) does not apply) at the collateral value stated. To the
extent that the amount of the debt of any such creditor exceeds the stated collateral value, the debtor(s)
hereby moves the Court that said difference be treated in the Chapter 13 plan as a general unsecured claim
without priority. The debtor(s) further moves the Court that the lien of each creditor listed upon the


                                                      3
   Case 1:16-bk-11890               Doc 13    Filed 11/17/16 Entered 11/17/16 14:58:44                   Desc Main
                                             Document      Page 4 of 11

      collateral listed herein above be satisfied upon payment of the collateral value and the issuance of the
      debtor(s) discharge.

          Pursuant to R.I. LBR 3015-1(c)(1), if the plan includes a motion to modify secured claim, the
      plan must be served in accordance with the requirements of LBR 9013-3(b)(1).

      C. Secured Claims Paid According to Modified Terms. These amounts will be paid in the plan
      according to modified terms, and liens retained until entry of discharge. The excess of the creditor’s
      claim will be treated as an unsecured claim. Any claim listed as “NO VALUE” in the “Modified
      Principal Balance” column below will be treated as an unsecured claim. THE LIENS WILL BE
      AVOIDED OR LIMITED IN THE PLAN OR AN ADVERSARY ACTION WILL BE FILED UNDER
      SECTION 506(a) TO DETERMINE THE EXTENT, VALIDITY, AND PRIORITY OF THE LIEN
      (Select method in last column):

Name of        Description of        Value of     Modified        Interest     Total    Mortgage         Is       Plan* or
Creditor     Collateral including    Collateral   Principal         Rate       Plan     Position     Appraisal   Adversary
                Address and                       Balance                    Payments   (1st, 2nd,   attached     Action?
             whether a Primary                                                            3rd)       to Plan?
                  Residence
N/A                                  $            $                    %     $
                                     $            $                    %     $
                                     $            $                    %     $
                                     $            $                    %     $

      * PLAN INDICATES THAT THE DEBTOR PROPOSES TO AVOID OR LIMIT THE LIEN OF
      THE CREDITOR IN THIS PLAN. CONFIRMATION OF THE PLAN SHALL CONSTITUTE A
      FINDING OF VALUATION PURSUANT TO SECTION 506(a). NO ADVERSARY COMPLAINT
      OR FURTHER MOTION WILL BE FILED AND THE LIEN WILL BE AVOIDED. IF THE
      CREDITOR WISHES TO CONTEST THE AVOIDANCE OF THE LIEN, THE CREDITOR
      MUST FILE AN OBJECTION TO THE ABOVE MOTION TO MODIFY SECURED CLAIM
      AND THIS PLAN. OTHERWISE CONFIRMATION OF THE PLAN WILL AVOID THE LIEN.

      D. Surrender of Collateral

           Name of Creditor                           Description of Collateral to be Surrendered
      N/A




      Check if applicable:

                                      [ ] Motion to Avoid Judicial Liens
          Judgments were obtained by the creditors listed below in cases before the Rhode Island State Courts,
      and said judgments have been recorded in the Registry of Deeds in the respective city or town hall as
      follows:

      Creditor       Judgment Book           Registry         Judgment Date        Date of Recording        Amount
                     and Page

      1. N/A


                                                              4
Case 1:16-bk-11890         Doc 13     Filed 11/17/16 Entered 11/17/16 14:58:44                Desc Main
                                     Document      Page 5 of 11


2. The above-stated judgments created liens on the real property in which the debtor(s) has an interest,
which real property is more specifically described as ___________________________. The value of the
debtor(s)’s interest in this real property is $____________. The aforesaid liens constitute judicial liens
under 11 U.S.C. Section 522(f)(1). The property which this judicial lien encumbers is property which the
debtor(s) is entitled to exempt under 11 U.S.C. Section 522 and the claimed amount of this exemption is
$__________________. The existence of this judicial lien impairs the exemption to which the debtor(s)
is entitled under R.I.G.L. 9-26-4 or as otherwise applied under applicable state law.

    The debtor(s) respectfully moves the Court to issue an order avoiding the judicial liens upon the real
property described herein, effective upon discharge.

   Pursuant to R.I. LBR 4003-2(b), if the plan includes a motion to avoid lien, it must be served in
accordance with the requirements of LBR 9013-3(b)(2).

    E. Lien Avoidance. The debtor moves to avoid the liens of the following creditors pursuant to
Section 522(f):

      Name of Creditor                                  Description of Collateral
N/A




                                       V. PRIORITY CLAIMS

    PRIORITY CLAIMS. All claims entitled to priority under 11 U.S.C. Section 507 and 1322 shall be
paid in full in deferred cash payments, except for priority claims under Section 507(a)(1)(B), unless the
holder of the particular claim agrees to a different treatment of such claim.

A. Domestic Support Obligations (“DSOs”). All postpetition DSOs, including postpetition DSOs
assigned to a governmental unit, will be paid directly to the holder by the debtor(s) or to the assignee of
the claim and not through the Chapter 13 Trustee unless otherwise specified under the “Other Plan
Provisions” section of the plan.

    1. [ x ] None

    2. [ ] DSO applies.

B. DSO Prepetition Arrearages. Owed to DSO Holders Under 11 U.S.C. Section 507(a)(1)(A), or
assigned to a governmental unit, to be paid in full through the Chapter 13 plan.

    1. [x ] None

    2. Name of holder                                    Amount of Arrearage

        (i)



                                                    5
Case 1:16-bk-11890         Doc 13      Filed 11/17/16 Entered 11/17/16 14:58:44                  Desc Main
                                      Document      Page 6 of 11

        (ii)

C. Priority Claims Other Than DSOs.

All priority claims other than DSOs shall be paid in full on a pro rata basis after the payment in full of all
DSO priority claims.

    (1) [ ] None

    (2) The names and amounts of all claims entitled to priority under 11 U.S.C. Section 507, other than
    DSOs:

    Name                                                                    Claim Amount

    (i) City Woonsocket                                                     $518.91

    (ii) City Woonsocket                                                    $260.00

    (iii) City of Woonsocket                                                $155.67

    (iv.) MA Dept. of Revenue                                               $870.30


                                       VI. UNSECURED CLAIMS

General Unsecured Claims Not Separately Classified. General unsecured claims shall be paid on a pro
rata basis with payments to commence after the payment of all administrative, secured and priority
unsecured claims in full.

A. Claims of Unsecured Nonpriority Creditors Specially Classified. Includes unsecured claims, such
as co-signed unsecured debts, that will be paid in full even though all other unsecured claims may not be
paid in full.

                               Reason for Special           Amount of          Interest
  Name of Creditor                                                                          Total Payment
                                 Classification              Claim               Rate
 N/A




B. Claims of General Unsecured Creditors. The debtor estimates that a total of $1000.00 will be
available for distribution to unsecured creditors on a pro rata basis, which represents an estimated
dividend of pro rata% of their claims. This percentage is for calculation purposes only. The Plan
provides for a specific set amount to be paid into the plan, not a percentage of the debt. The debtor
calculates that a minimum of $0.00 must be paid to unsecured creditors in order to comply with the
liquidation test for confirmation and the debtor calculates that a minimum of $0.00 must be paid to
unsecured, non- priority creditors in order to comply with the Means Test.




                                                      6
Case 1:16-bk-11890          Doc 13      Filed 11/17/16 Entered 11/17/16 14:58:44                   Desc Main
                                       Document      Page 7 of 11

Check if applicable:

        [ ] Motion to Assume or Reject Executory Contracts and Unexpired Leases

A. The debtor(s) moves to assume or reject the following executory contracts and unexpired leases. If assumed,
payments due after the filing of the case will be paid directly by the debtor(s) rather than by the trustee.

B. Unless otherwise provided, the debtor(s) proposes to promptly cure any pre-bankruptcy defaults on the assumed
leases or contracts over a period of ____ months, with said payments to be made by the trustee.


                                                                                      If Assumed, Amount of
        Creditor                           Assume or Reject                           Arrearage paid in Plan

        1. N/A
        2.

                   VII. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

    EXECUTORY CONTRACTS AND UNEXPIRED LEASES. The following executory contracts
and unexpired leases are assumed (and pre-petition arrears to be cured in the plan) or rejected (so
indicate):

                                                                          Pre-
                          Description of       Monthly      Interest                    Total        Assume/
Name of Creditor                                                         petition
                           Collateral          Payment       Rate                      Payment        Reject
                                                                         Arrears
N/A



                             VIII. CALCULATION OF PLAN PAYMENT

A. Secured claims (Section IV Total):                                                 $40,000.00

B. Priority claims (Section V Total):                                                 $1,804.88

C. Administrative claims (Section II Total):                                          $3,000.00

D. General unsecured claims (Section VI Total):                                       $1,000.00

E. Separately classified unsecured claims (Section IV A Total):                       0.00

F. Total of (A) through (E) above:                                                    $45,804.88

G. Divide (F) by .90 for total cost including Chapter 13 trustee’s fee
   (this represents the total amount to be paid into the Chapter 13 plan):

    Total Cost of Plan:                                                               $50,899.31

H. Divide (G) Cost of Plan by Term of Plan:                                           60 months

I. Round up to nearest dollar:


                                                       7
Case 1:16-bk-11890        Doc 13       Filed 11/17/16 Entered 11/17/16 14:58:44           Desc Main
                                      Document      Page 8 of 11

    Monthly Plan Payment:                                                     $850.00 (enter this
                                                                              amount on page 2)
                                     IX. LIQUIDATION ANALYSIS

A. Real Estate:

Address Fair Market                      Value Recorded                       Liens (Schedule D)

38 Saint Leon Ave.                       $168,000.00                          $187,244.89

Woonsocket, RI 02895                     $__________________

Total Net Equity in Real Property:                                            $0.00

Less Exemptions (Schedule C):                                                 $0.00

Amount Available in a Chapter 7:                                              $0.00

B. Automobile (Describe year, make and model):

Chevrolet Silverado      Value $1,500.00          Lien $0.00              Exemption $1,500.00

Volkswagon Passat        Value $500.00            Lien $0.00              Exemption $500.00

ATV                      Value $1,500.00          Lien $0.00              Exemption $1,500.00



Net Value of Equity:            $3,500.00

Less Exemptions (Schedule C): $3,500.00

Available Chapter 7:            $0.00

C. All Other Assets (all remaining items on Schedule B): (Itemize as necessary)

Value: $4550.00          Less Exemptions (Schedule C): $4,550.00

Available Chapter 7: $0.00

SUMMARY (Total amount available under Chapter 7) -- calculated based upon Net Equity (A and B)
plus Other Assets (C) less any claimed exemptions:

TOTAL AMOUNT AVAILABLE UNDER CHAPTER 7: $0.00

Additional Comments regarding Liquidation Analysis:_________________________________________

_____________________________________________________________________________________




                                                   8
Case 1:16-bk-11890          Doc 13      Filed 11/17/16 Entered 11/17/16 14:58:44                   Desc Main
                                       Document      Page 9 of 11


                                       X. GENERAL PROVISIONS

1. Unless otherwise ordered, any creditor holding a claim secured by property which is removed from
the protection of the automatic stay, whether by judicial action, voluntary surrender, or through operation
of the plan, will receive no further distribution from the trustee, unless an itemized proof of claim for any
deficiency is filed within one-hundred twenty (120) days (or such other period as the Court orders) after
the removal of the property from the protection of the automatic stay. For purposes hereof, the removal
date shall be the date of the entry of the order confirming the plan, modifying the plan, or granting relief
from stay, as applicable. This also applies to creditors who may claim an interest in, or lien upon,
property which is removed from the protection of the automatic stay of another lien holder or released to
another lien holder.

2. If a claim is listed in the plan as secured and the creditor files a proof of claim as an unsecured creditor,
the creditor shall be treated as unsecured for purposes of distribution and for any other purpose under the
plan.

3. Unless otherwise ordered by the Court, all property of the estates as defined in 11 U.S.C. §§ 541 and
1306, including, but not limited to any appreciation in the value of real property owned by the Debtor(s)
as of the commencement of the case, shall remain property of the estate during the term of the Plan and
shall vest in the Debtor(s) only upon closing of the case. All property of the estate shall remain within the
exclusive jurisdiction of the Bankruptcy Court.

4. Confirmation of the plan shall impose a duty on the holders and/or servicers of claims secured by liens
on real property to apply the payments received from the trustee on the prepetition arrearages, if any, only
to such arrearages; to deem the prepetition arrearages as contractually cured by confirmation; to apply the
direct mortgage payments, if any, paid by the trustee or by the debtor(s) to the month in which they were
made under the plan or directly by the debtor(s), whether such payments are immediately applied to the
loan or placed into some type of suspense account; to notify the trustee, the debtor(s) and the attorney for
the debtor(s) of any changes in the interest rate for an adjustable rate mortgage and the effective date of
the adjustment; to notify the trustee, the debtor(s) and attorney for the debtor(s) of any change in the taxes
and insurance that would either increase or reduce the escrow portion of the monthly mortgage payment;
and to otherwise comply with 11 U.S.C. Section 524(i).

5. All contractual provisions regarding arbitration or alternative dispute resolution are rejected in
connection with the administration of this Chapter 13 case.


                                XI. ADDITIONAL CREDITOR DUTIES

Additional Terms Applicable to Creditors

See Federal Rule of Bankruptcy Procedure 3002.1 - Notice Relating to Claims Secured by Security
Interest in the Debtor’s Principal Residence.




                                                       9
Case 1:16-bk-11890         Doc 13     Filed 11/17/16 Entered 11/17/16 14:58:44                 Desc Main
                                     Document     Page 10 of 11

                                XII. ADDITIONAL DEBTOR DUTIES

1. Insurance. Debtor shall maintain insurance as required by law, contract, security agreement or Order of
this court.

2. Payment Records to Trustee. Debtor shall keep and maintain records of payments made to Trustee.

3. Payment Records to Secured Creditor(s). Debtor shall keep and maintain records of post-petition
payments made to Secured Creditor(s).

4. Domestic Support Obligation(s). Under 11 U.S.C. § 1325(a)(8) and § 1328(a), if the debtor owes
domestic support obligations, whether owed at the time of filing or incurred during the pendency of the
bankruptcy case, the debtor must file a certification with the Chapter 13 Trustee stating that all such
payments due under the plan have been paid before a discharge order may enter. Debtor shall maintain a
record of all domestic support obligation payments paid directly to the recipient pursuant to a separation
agreement, divorce decree, applicable child support collection unit order or other court’s order.

5. Change in Address. Debtor must notify the court and the Trustee if the address or contact information
changes during the pendency of the case. Notification must be made in writing within fifteen (15) days of
when the change takes place.

6. Disposal of Property. The Debtor(s) shall not transfer, sell, encumber, or otherwise alienate property of
the estate with a value of more than $1,000 other than in accordance with the confirmed Plan or other
order of the Bankruptcy Court. The Debtor shall be responsible for preserving and protecting all property
of the estate.

                                  XIII. OTHER PLAN PROVISIONS

LOSS MITIGATION: (Optional)

    This section applies only to the Debtor’s Real Property Used as a Principal Residence.

       By checking this box, the Debtor expresses an interest in discussing loss mitigation (such as a loan
modification, loan refinance, short sale, or surrender in full satisfaction) concerning the Debtor’s Real
Property Used as a Principal Residence. List the property and/or the Secured Creditor(s) below:

_____________________________________________________________________________________

The Debtor hereby permits the Secured Creditor(s) listed above to contact (check all that apply):

       The Debtor directly.

       Debtor’s bankruptcy counsel.

       Other: ____________________________

(Debtor is not required to dismiss this bankruptcy Petition during the loss mitigation discussions. Any
agreement reached during the loss mitigation discussions may be approved pursuant to an amended plan,
and the terms may be set forth in Section XII, below.)




                                                    10
Case 1:16-bk-11890         Doc 13     Filed 11/17/16 Entered 11/17/16 14:58:44                 Desc Main
                                     Document     Page 11 of 11


PLAN SERVICE AND SIGNATURES:

Pursuant to the R.I. LBR 3015-1(b), the Debtor or his/her counsel is required to serve a copy of the
Chapter 13 Plan upon the Chapter 13 Trustee, all creditors and interested parties, and to file a certificate
of service accordingly. In addition, if the Debtor has included a Motion to Modify Secured Claim and/or a
Motion to Avoid Lien in this plan, the Debtor must also comply with the service requirements contained
in R.I. LBR 9013-3(b).

_/s/ Janet J. Goldman__#4081_                    11/17/2016
Address: 51 Jefferson Blvd.
Warwick, RI 02888________
Telephone #:401-785-2300

I/We declare under penalty of perjury that the information provided in the Chapter 13 Plan, including any
applicable Motion(s) to Modify Secured Claims; Motion(s) to Avoid Certain Liens; Motion to Value
Collateral; and Motion(s) for Assumption and Rejection of Executory Contracts and Unexpired Leases, as
to all matters set forth herein, are true and correct to the best of our knowledge and belief:

/s/ Tina M. Gelinas                              11/17/2016
Debtor                                           Date

/s/ Irwin W. Gelinas                             11/17/2016
Co-Debtor                                        Date




                                                    11
